656 F.2d 315
    26 Empl. Prac. Dec. P 32,026
    Cassandra VAN NOSTRAND, M.D., Appellant,v.The UNIVERSITY OF MINNESOTA; C. Peter McGrath, ItsPresident; Dr. E. Gedgaudas; and Dr. Phillipe R.L'Heureux as University employees andindividually, Appellees.
    No. 80-1931.
    United States Court of Appeals,Eighth Circuit.
    Submitted June 16, 1981.Decided Aug. 11, 1981.
    
      Donald J. Heffernan, St. Paul, Minn., for appellant.
      Dorsey, Windhorst, Hannaford, Whitney &amp; Halladay, Thomas Tinkham, argued, Joel Lavintman, Minneapolis, Minn., for appellees.
      Before McMILLIAN and ARNOLD, Circuit Judges, and HANSON,* District Judge.
      PER CURIAM.
    
    
      1
      Cassandra Van Nostrand appeals from a final order entered in the District Court1 for the District of Minnesota denying her motion to reopen and dismissing with prejudice her sex discrimination action against the University of Minnesota Medical Center and certain medical school professors.  Van Nostrand v. University of Minnesota, No. Civil 4-79-191 (D.Minn. Sept. 3, 1970) (order).  For reversal appellant argues that the district court abused its discretion in granting appellees' motion to dismiss with prejudice for failure to comply with certain discovery procedures and court orders.  We affirm on the basis of the district court's memorandum opinion.  See 8th Cir. R. 14.
    
    
      2
      Appellant began work as a resident in the Department of Radiology at the University of Minnesota Medical Center in July 1975.  Appellant experienced certain academic difficulties, which she alleges were the result of unlawful sex discrimination by a predominately male medical faculty and administration, and was terminated from the residency program as of June 30, 1976.  Appellant filed sex discrimination claims with the University, the state human rights commission, and the Equal Employment Opportunity Commission.  Appellant then filed this sex discrimination action in federal district court.
    
    
      3
      After more than a year of protracted discovery litigation, including three court orders compelling discovery, the district court dismissed the action for failure to comply with discovery procedures and court orders but allowed appellant thirty days to move to reopen the action upon performance of certain conditions.2  Van Nostrand v. University of Minnesota, No. Civil 4-79-191 (D.Minn. May 19, 1980) (order).  Appellant then filed a motion to reopen the action.  The district court found that appellant had failed to satisfy the conditions specified in the May 19 order and had willfully and inexcusably failed to comply with discovery orders and in doing so had acted in bad faith.  The district court accordingly dismissed the action with prejudice pursuant to Fed.R.Civ.P. 37(b).  This appeal followed.
    
    
      4
      As summarized in the district court's memorandum opinion, the record reflects appellant's failure to satisfy the conditions for reopening her action, repeated failure to make full and timely responses to the University's discovery requests, and failure to comply with three separate discovery orders despite explicit instructions from the district court.  Under these circumstances the district court did not abuse its discretion in dismissing appellant's action with prejudice for failure to comply with discovery procedures and court orders.  See National Hockey League v. Metropolitan Hockey Club, Inc., 427 U.S. 639, 642, 96 S.Ct. 2778, 2780, 49 L.Ed.2d 747 (1976) (per curiam); Societe Internationale Pour Participations Industrielles et Commerciales, S.A. v. Rogers, 357 U.S. 197, 212, 78 S.Ct. 1087, 1095, 2 L.Ed.2d 1255 (1958); General Dynamics Corp. v. Selb Manufacturing Co., 481 F.2d 1204, 1211 (8th Cir. 1973), cert. denied, 414 U.S. 1162, 94 S.Ct. 926, 39 L.Ed.2d 116 (1974).
    
    
      5
      Accordingly, the order of the district court is affirmed.
    
    
      
        *
         The Honorable William C. Hanson, United States District Judge for the Northern and Southern Districts of Iowa, sitting by designation
      
      
        1
         The Honorable Robert G. Renner, United States District Judge for the District of Minnesota
      
      
        2
         Appellant was directed to pay some $700 in attorneys' fees assessed by the district court; fully comply with the University's first and second requests for documents by producing all such documents within her care, custody and control or to which she had access; fully answer all interrogatories; and provide the district court with an affidavit setting forth her compliance with the discovery orders
      
    
    